Case 1:23-cv-01497-SEB-MJD Document 45 Filed 10/13/23 Page 1 of 2 PageID #: 1000




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

 ELEVANCE HEALTH, INC.,                                )
                                                       )
                               Plaintiff,              )
                                                       )
                          v.                           )       No. 1:23-cv-01497-SEB-MJD
                                                       )
 VINOD MOHAN,                                          )
                                                       )
                               Defendant.              )



                        ORDER REGARDING PROTECTIVE ORDERS

        In the event an agreed protective order is required in this matter, the parties shall file a

 motion seeking the entry of such an order, attaching thereto the proposed protective order. The

 parties shall either use the Court’s Uniform Protective Order http://www.insd.uscourts.gov/court-

 info/local-rules-and-orders or explain in the motion why a different form of order is being

 proposed. If the parties use the Court’s Uniform Protective Order, the motion seeking entry of the

 order shall articulate any changes that were made to the Court’s standard form. The parties shall

 also either replace Section VIII of the Uniform Protective Order with the following language or

 include the following language in any alternative form of protective order that may be submitted

 or explain in detail in the motion any deviation from this instruction:

          VIII. REQUESTS TO SEAL

                 A.       Filing Documents Under Seal: The parties shall comply with Local Rule

         5-11 when filing material designated as protected information pursuant to this order.

         Over-redaction of documents sought to be maintained under seal may result in the denial

         of a motion to seal.
Case 1:23-cv-01497-SEB-MJD Document 45 Filed 10/13/23 Page 2 of 2 PageID #: 1001




                  B.   Challenging "Confidential" or "Attorneys' Eyes Only" Designations: Prior

         to the filing of any motion seeking to challenge the designation of information as

         "Confidential" or "Attorneys' Eyes Only" as set forth in Section IV above, the parties will

         request a telephonic conference with the Magistrate Judge to discuss the issue, following

         which the contesting party may move for an order removing or altering the "Confidential"

         or “Attorneys' Eyes Only” designation with regard to such document(s).

         Additionally, if any proposed protective order purports to allow documents to be

  designated as “Attorneys’ Eyes Only,” such proposed order must include a precise definition of

  the documents that may be designated as “Attorneys’ Eyes Only” pursuant to the order.

         A motion for the entry of an agreed protective order should be filed as soon as practicable,

  but in any event no later than 14 days prior to the original due date for any discovery response

  with regard to which the responding party proposes to rely upon the protective order when

  responding.


         SO ORDERED.



         Dated: 13 OCT 2023




  Distribution:

  Service will be made electronically
  on all ECF-registered counsel of record
  via email generated by the Court’s ECF system.
